
*841OPINION.
Love :
The sole question involved in this proceeding is whether or not, under the facts as disclosed by the record, the City Button Works and Rothschild Brothers &amp; Co. in 1921, were affiliated corporations and entitled to make a consolidated return.
Section 240 (c) prescribes that:
For the purposes of this section two or more domestic corporations shall be deemed to be affiliated (1) if one corporation owns directly or controls through closely affiliated interests or by a nominee or nominees substantially all the stock of the other or others, or (2) if substantially all the stock of two or more corporations is owned or controlled by the same interests.
Under a fair and reasonable interpretation of the stock ownership and control situation of the common stock, as disclosed by the record in this case, we believe it should be held, and we do so hold, that the petitioner and the Rothschild Brothers &amp; Co. were affiliated and entitled to make consolidated return in 1921.
Reviewed by the Board.

Judgment will be entered under Rule 50.

Phillips, Muedock, and Siefkin dissent.
